                           3:19-cr-30035-SEM-TSH # 10   Page 1 of 2
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                                                             Wednesday, 10 July, 2019 10:37:10 AM
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                                                                    Clerk, U.S. District Court, ILCD

                                                                                JUL 0 9 2019
                     IN THE UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF ILLINOIS                      CLERK OF THE COURT
                             SPRINGFIELD DMSION                             U.S. DISTRICT COURT
                                                                        CENTRAL DISTRICT OF lLLINOIS

UNITED STATES OF AMERICA, )
                                         )
                 Plaintiff,              )     Criminal No. 19-CR-300     35
                                         )
        v.                               )     VIO: Title 21, United States Code,
                                         )          Sections 841(a)(l) and
DONALD R. FELTON,                        )          841 (b)(l)(A) (viii).
                                         )
                Defendant.               )

                                   INDICTMENT

                                       COUNTl
                    {Possession of 50 Grams or More of Methamphetamine
                                With the Intent to Distribute)

THE GRAND JURY CHARGES:

        On or about June 8, 2019, in Christian County, in the Central District

of Illinois, the defendant,

                                 DONALD R. FELTON,

knowingly and intentionally possessed a controlled substance, namely, 50

grams or more of methamphetamine, a Schedule II controlled substance, with

the intent to distribute it.

        All in violation of Title 21, United States Code, Sections 84l(a)(l) and

841 (b) ( 1) (A) (viii).
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                                      s/ Foreperson

s/ Gregory M. Gilmore
